          Case
          Case 1:20-cv-04539-CM
               1:20-cv-04539-CM Document
                                Document 46
                                         42 Filed
                                            Filed 10/13/20
                                                  10/08/20 Page
                                                           Page 11 of
                                                                   of 22




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



 Perry Street Software, Inc.,

                Plaintiff,
                                                         Civil Action No. 1 :20-cv-04539
                v.

 Jedi Technologies, Inc.,                                         USDCSDNY

                Defendant.
                                                                  DOCUMENT
                                                                  ELECTRONICALLY FILED
                                                                                                 \
                                                                  DOC#:
                                                                   DATE FlLED:    . JP 1/, ~*~
                                                                                           1     \
                 PLAINTIFF'S NOTICE OF MOTION TO STAY CASE
                PENDING RESOLUTION OF ITS MOTION TO COMPEL
                      ARBITRATION AND STAY THE CASE

       PLEASE TAKE NOTICE that Plaintiff Perry Street Software, Inc. ("Perry"), upon the

accompanying Memorandum of Law, moves this Court, before the Honorable Chief Judge Colleen

McMahon, U.S.D.J., at the United State District Court for the Southern District of New York,

Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, Courtroom 24A, New York,

New York 10007, at a date and time to be set by the Court, pursuant to Federal Rule of Civil

Procedure 26(c), the Court's inherent power to control its docket, and the Federal Arbitration Act,

9 U.S.C. § 1 et seq ., for a stay of the case pending the Court's resolution of Perry ' s Motion To

Compel Arbitration And Stay The Case (ECF No. 37), and awarding Perry such further relief as

the Court may deem just and proper.              \     ~ r1 /             0
                                                                               J. ~
                                 vv              V1    ~~           <   YIJ
                          1'°~;,,-~ iY7
                     10\1 1                                        ,r

                      cf\~ JYµ)-lj~("
                                      (;Y- 1
          Case
          Case 1:20-cv-04539-CM
               1:20-cv-04539-CM Document 46 Filed
                                Document 42       10/13/20 Page
                                            Filed 10/08/20      2 of
                                                           Page 2 of 2
                                                                     2




Dated: October 8, 2020                      Respectfully submitted,


                                             --6-tCLcL
                                            STEVEN CALLAHAN
                                             seal lahan@ccrglaw.com
                                            BRETT CHARHON
                                             New York State Bar No. 4 770731
                                             bcharhon@ccrglaw.com
                                            MITCHELL SIBLEY
                                             msibley@ccrglaw.com
                                            CHARHON CALLAHAN
                                            ROBSON & GARZA, PLLC
                                            3333 Lee Parkway, Suite 460
                                            Dallas, Texas 75219
                                            Telephone: (214) 521-6400
                                            Telecopier: (214) 764-8392

                                            Counsel for Plaintiff Perry Street Software, Inc.


                                CERTIFICATE OF SERVICE

      The undersigned certifies that he met and conferred with Jedi's counsel by telephone on
September 4, 2020, and that Jedi is opposed to the reliefrequested in the foregoing motion.




                                            STEVEN CALLAHAN




                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed on October 8, 2020 using
the Court's ECF system which will send a Notice of Electronic Filing to Jedi's counsel of record.




                                            STEVEN CALLAHAN




                                                2
